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EXHIBIT A

DIP CREDIT FACILITY

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DEBTOR-IN-POSSESSION LOAN AND SECURITY AGREEMENT

Dated as of August 6, 2007

by and among

AMERICAN HOME MORTGAGE INVESTMENT CORP.
as debtor and debtor-in-possession,

CERTAIN OF ITS AFFILIATES,
as debtors and debtors-in-possession,

THE LENDERS PARTY HERETO,
and

WLR RECOVERY FUND III, L.P.
as Administrative Agent

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DEBTOR-IN-POSSESSION LOAN AND SECURITY AGREEMENT

THIS DEBTOR-IN-POSSESSION LOAN AND SECURITY AGREEMENT (as
amended, restated or otherwise modified from time to time, this “Agreement” or this “Loan
Agreement”), dated as of August 6, 2007, by and among American Home Mortgage Investment
Corp., as a debtor and a debtor-in-possession, a Maryland corporation (the “Parent’’), the
affiliates of the Parent listed on Schedule A hereto, each as a debtor and a debtor-in-possession
(together with the Parent, individually a “Borrower” and, collectively, the “Borrowers”), the
Lenders from time to time party hereto, including the initial lenders party hereto as set forth on
Schedule B hereto (each individually a “Lender” and, collectively, the “Lenders”) and [WLR
Recovery Fund III, L.P.], a Delaware limited partnership, as administrative agent for the Lenders
(in such capacity, the “Administrative Agent”).

RECITALS

On August 6, 2007 (the “Filing Date”), the Borrowers commenced cases (the
“Chapter 11 Cases”) under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”) and the Borrowers have retained possession of their assets and are authorized under the
Bankruptcy Code to continue the operation of their businesses as debtors-in-possession.

The Bankruptcy Court has authorized the joint administration of the bankruptcy
estate of each Borrower.

Subject to the approval of the Bankruptcy Court, the Borrowers, the Lenders and
the Administrative Agent wish to enter into an agreement to provide to the Borrowers a senior,
secured, superpriority debtor-in-possession revolving credit facility of up to $50,000,000 (the
“Facility”) to finance working capital and for general corporate purposes to the extent permitted
pursuant to this Loan Agreement.

The Lenders have agreed, upon the terms and subject to the conditions of this
Loan Agreement, to provide such financing to the Borrowers.

Accordingly, for good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, the parties hereto hereby agree as follows:

Section 1. Definitions and Accounting Matters

1.01 Certain Defined Terms. As used herein, the following terms have the
following meanings:

“Administrative Agent” has the meaning set forth in the preamble hereto.

“Administrative Borrower” has the meaning set forth in Section 11.14 hereof.

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“Affiliate” has the meaning provided in the Bankruptcy Code.

“Aoency Guide” means the FHLMC Guide, the FNMA Guide or the GNMA
Guide, as applicable.

“Agreement” has the meaning set forth in the preamble hereto.

“AHMA” means American Home Mortgage Acceptance, Inc., a Maryland

corporation.

“AHMC” means American Home Mortgage Corp., a New York corporation.

“AHMH” means American Home Mortgage Holdings, Inc. a Delaware
corporation.

“AHMS” means American Home Mortgage Servicing, Inc., a Maryland
corporation.

“AHMV” means American Home Mortgage Ventures LLC, a Delaware limited
liability company.

“Applicable Margin” means 3.00% per annum.

“Approved Fund” means, with respect to any Lender that is a fund that invests in
bank loans and similar commercial extensions of credit, any other fund that invests in bank loans
and similar commercial extensions of credit and is managed by the same investment advisor as
such Lender or by an Affiliate of such investment advisor.

“Asset Sale” means any Disposition of Property or series of related Dispositions
of Property (excluding any such Disposition permitted by Section 7.13) that yields gross
proceeds to any Borrower or any of their Subsidiaries (valued at the initial principal amount
thereof in the case of non-cash proceeds consisting of notes or other debt securities and valued at
fair market value in the case of other non-cash proceeds) in excess of $50,000.

“Authorized Officer” means any of the officers listed on Schedule G hereto, as the
same may be amended from time to time by the Borrowers’ delivery of an updated Schedule G.

“Availability” means, as of any date of determination, the amount that the
Borrowers are entitled to borrow as Loans hereunder (after giving effect to all then outstanding
Loans, interest thereon, fees, and expenses and all sublimits and reserves then applicable
hereunder).

“Avoidance Actions” means actions available to the bankruptcy estate of the
Borrowers in the Chapter 11 Cases pursuant to Sections 544, 545, 547, 548, 549, 550, 551,
553(b) or 724(a) of the Bankruptcy Code and the proceeds thereof.

“B of A” means Bank of America, N.A.

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“B of A Collateral” shall mean all “Collateral” as defined in the third decretal
paragraph of that certain Interim Order (I) Authorizing Debtors’ Limited Use Of Cash Collateral,
(II) Granting Replacement Liens, Adequate Protection And Administrative Expense Priority To
Certain Pre-Petition Secured Parties And (III) Scheduling Final Hearing Pursuant To Bankruptcy
Rule 4001 entered by the Bankruptcy Court in the Chapter 11 Cases.

“B of A Credit Agreement” means that certain Second Amended and Restated
Credit Agreement, dated as of August 10, 2006, by and among the Parent, American Home
Mortgage Servicing, Inc., American Home Mortgage Corp, American Home Mortgage
Acceptance, Inc., the lenders from time to time party thereto and B of A, as administrative agent
for such lenders, as amended from time to time.

“Bankruptcy Code” has the meaning set forth in the recitals hereto.

“Bankruptcy Court” has the meaning set forth in the recitals hereto.

“Borrower” has the meaning set forth in the preamble hereto.

“Borrowing Notice” means the certificate prepared by the Administrative
Borrower substantially in the form of Exhibit B attached hereto.

“Budget” means the Borrowers’ budget attached as Schedule C hereto', as
updated from time to time pursuant to Section 7.01 (a).

“Business Day” means any day other than (i) a Saturday or Sunday, (ii) a day on
which the New York Stock Exchange, the Federal Reserve Bank of New York or banking and
savings and loan institutions in New York, New York are authorized or obligated to close their
regular banking business, or (iii) a day on which trading in securities on the New York Stock
Exchange or any other major securities exchange in the United States is not conducted.

“Capital Lease Obligations” means, for any Person, all obligations of such Person
to pay rent or other amounts under a lease of (or other agreement conveying the right to use)
Property to the extent such obligations are required to be classified and accounted for as a capital
lease on a balance sheet of such Person under GAAP, and, for purposes of this Loan Agreement,
the amount of such obligations shall be the capitalized amount thereof, determined in accordance
with GAAP.

“Carve-Out” has the meaning set forth in the applicable Order.

“Carve-Out Amount” has the meaning set forth in the applicable Order.

“Cash Equivalents” means (a) securities with maturities of 90 days or less from
the date of acquisition issued or fully guaranteed or insured by the United States Government or
any agency thereof, (b) certificates of deposit and eurodollar time deposits with maturities of 90
days or less from the date of acquisition and overnight bank deposits of any commercial bank

' It is anticipated that the Budget, as set forth on Exhibit C, will be a cumulative projected expenses Budget
and will be subject to variances of not more than 20%

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having capital and surplus in excess of $500,000,000, (c) repurchase obligations of any
commercial bank satisfying the requirements of clause (b) of this definition, having a term of not
more than seven days with respect to securities issued or fully guaranteed or insured by the
United States Government, (d) commercial paper of a domestic issuer rated at least A-1 or the
equivalent thereof by Standard and Poor’s Ratings Group (“S&P”) or P-l or the equivalent
thereof by Moody’s Investors Service, Inc. (“Moody’s”) and in either case maturing within 90
days after the day of acquisition, (e) securities with maturities of 90 days or less from the date of
acquisition backed by standby letters of credit issued by any commercial bank satisfying the
requirements of clause (b) of this definition, or (f) shares of money market mutual or similar
funds which invest exclusively in assets satisfying the requirements of clauses (a) through (e) of

this definition.

“Change of Control” means the Parent fails to own, directly or indirectly, 100%
of the outstanding Equity Interests of the other Borrowers except as a result of a Permitted
Disposition.

“Chapter 11 Cases” has the meaning set forth in the recitals hereto.

“Closing Date” means the date on which the Administrative Agent sends the
Administrative Borrower a written notice that each of the conditions precedent set forth in
Section 5.01 either has been satisfied or has been waived, which notice shall not be unreasonably
withheld or delayed.

“Code” means the Internal Revenue Code of 1986, as amended from time to time.

“Collateral” means all property and assets of each Borrower and its estate of
every kind or type whatsoever (other than Avoidance Actions), tangible, intangible, real,
personal and mixed, whether now owned or existing or hereafter acquired or arising and
regardless of where located, whether within the United States or in other locations, and including
all of each Borrower’s now owned or hereafter acquired right, title and interest in and to each of
the following:

(a) all Accounts, including any account holding cash in respect of a Deferred
Compensation Plan;

(b) all Accounts Receivable and Accounts Receivable Records;

(c) all Books and Records pertaining to the property described in this definition of
“Collateral”;

(d) all Chattel Paper (whether tangible or electronic);
(e) all Commercial Tort Claims;
(f) all Deposit Accounts (including the Facility Collection Account, the Escrow

Account, the Interest Escrow Subaccount, the Lender Expenses Escrow Subaccount and the other
Control Accounts);

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(g) all Documents;

(h) all Equipment;

(i) all Fixtures;

(j) all General Intangibles and Payment Intangibles;
(k) all Goods;

(1) all Instruments;

(m)all Interest Rate Protection Agreements;

(n) all Intellectual Property;

(o) all Inventory;

(p) all Investment Property, including the Equity Interests of the Specified
Banking Subsidiary, the Specified Captive Insurance Subsidiary and the Specified Real Property
Subsidiary and all Investment Property held in Control Accounts and that portion of the Pledged
Collateral constituting Investment Property;

(q) all Letter-of-Credit Rights, including all rights of payment or performance
under letters of credit, and any secondary obligation that supports the payment or performance of
an Account, Chattel Paper, a Document, a General Intangible, a Payment Intangible, an
Instrument, Investment Property, or any other Collateral;

(x) all mortga ge loans, including all Unencumbered Whole Loans;

(s) all mortgage loan documents, including without limitation all promissory
notes or other instruments or agreements evidencing the indebtedness of obligors thereon and
any other collateral pledged or otherwise relating to such mortgage loans, together with all files,
material documents, instruments, surveys (if available), certificates, correspondence, appraisals,
computer records, computer storage media, mortgage loan accounting records and other books
and records relating thereto;

(t) all mortgage guaranties and insurance (issued by governmental agencies or
otherwise) and any mortgage insurance certificate or other document evidencing such mortgage
guaranties or insurance relating to any mortgage loans and all claims and payments thereunder;

(u) all Insurance and all other insurance policies and Insurance Proceeds relating
to any mortgage loans or the related mortgaged property;

(v) all Negotiable Collateral;
(w)all Payment Intangibles;

(x) all Residuals;

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(y) all Supporting Obligations and Collateral Support, including with respect to
any other item of Collateral;

(z) all Tax Refund Receivables;
(aa) all Vehicles;

(bb) all money or other assets of each such Borrower that now or hereafter
come into the possession, custody, or control of any Lender;

(cc) all of each Borrower’s interests in Real Property owned by such Borrower
(including the Illinois Property) or its interest (if any) in the Real Property collateralizing any
mortgage loan;

(dd) all property of the estate of each Borrower (within the meaning of the
Bankruptcy Code) and all other Personal Property of the Borrowers, wherever located and
whether now or hereafter existing, and whether now owned or hereafter acquired, of every kind
and description, whether tangible or intangible, including money and all property of any
Borrower held by the Administrative Agent or any Secured Party, including all property of every
description, in the possession or custody of or in transit to the Administrative Agent or such
Secured Party for any purpose, including safekeeping, collection or pledge, for the account of
such Borrower, or as to which such Borrower may have any right or power;

(ee) to the extent not otherwise included, all monies and other property of any
kind which is, after the Petition Date, received by such Borrower in connection with refunds with
respect to taxes, assessments and governmental charges imposed on such Borrower or any of its
property or income;

(ff)to the extent not otherwise included, all causes of action (other than
Avoidance Actions) and all monies and other property of any kind received therefrom, and all
monies and other property of any kind recovered by any Borrower; and

(gg) all Proceeds, products, rents and profits, whether tangible or intangible, of
any of the foregoing, including proceeds of insurance covering any or all of the foregoing, and
any and all tangible or intangible property resulting from the sale, exchange, collection, or other
disposition of any of the foregoing, or any portion thereof or interest therein, and the Proceeds
thereof

:provided, however, that notwithstanding the foregoing, “Collateral” shall not include any of the
B of A Collateral.

“Collateral Support” means all property (real or personal) assigned, hypothecated
or otherwise securing any of the items set forth as (a) through (gg) in the definition of Collateral
in this Section 1.01 and includes any security agreement or other agreement granting a Lien or
security interest in such real or personal property.

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“Commitment” means the commitment of a Lender to make Loans hereunder in
the amount set forth opposite its name on Schedule B hereto or as may subsequently be set forth
in the Register from time to time, as the case may be.

“Committee” means an Official Committee of Unsecured Creditors for the
Borrowers appointed pursuant to Section 1102(a) of the Bankruptcy Code by the United States
Trustee, as the membership of such committee may from time to time be constituted and
reconstituted.

“Contractual Obligation” means as to any Person, any material provision of any
agreement, instrument or other undertaking to which such Person is a party or by which it or any
of its property is bound or any material provision of any security issued by such Person.

“Contaminant” means any material, substance or waste that is classified or
regulated under any Environmental Law as hazardous, toxic, a contaminant or a pollutant or by
other words of similar meaning, including any petroleum or petroleum-derived substance or
waste, asbestos and polychlorinated biphenyls.

“Control Account” means an account subject to a Control Agreement.

“Control Account Party” means the applicable securities intermediary with
respect to a securities account or bank with respect to a deposit account.

“Control Agreements” means, as applicable, the Facility Collection Account
Control Agreement, the Escrow Account Control Agreement and any other control agreement, in
form and substance reasonably satisfactory to the Administrative Agent, executed and delivered
by a Borrower, the Administrative Agent and the Control Account Party in accordance with the
terms hereof.

“Custodian Category” means the category of the same name on the MERS System
that reflects the custodial party that is in possession of the mortgage loans pledged by Borrowers
to mortgage warehouse lenders.

“Default” means an Event of Default or an event that with notice or lapse of time
or both would become an Event of Default.

“Deferred Compensation Plan” means the American Home Mortgage Holding,
Inc. Amended and Restated Deferred Compensation Plan effective January 1, 2005.

“Disposition” means any transaction, or series of related transactions, pursuant to
which any Borrower or any of its Subsidiaries sells, assigns, transfers or otherwise disposes of
any Property or assets (whether now owned or hereafter acquired) to any other Person, in each
case whether or not the consideration therefor consists of cash, securities or other assets owned
by the acquiring Person.

“Dollars” and “$” means lawful money of the United States of America.

“Entry Date” means the date of the entry of the Final Order.

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“Environmental Laws” means all applicable Requirements of Law now or
hereafter in effect, as amended or supplemented from time to time, relating to pollution or the
regulation and protection of human health, safety, the environment or natural resources,
including the Comprehensive Environmental Response, Compensation, and Liability Act of
1980, as amended (42 U.S.C. § 9601 et seg.); the Hazardous Material Transportation Act, as
amended (49 U.S.C. § 180 ef seq.); the Federal Insecticide, Fungicide, and Rodenticide Act, as
amended (7 U.S.C. § 136 ef seq.); the Resource Conservation and Recovery Act, as amended (42
U.S.C. § 6901 et seq.); the Toxic Substance Control Act, as amended (42 U.S.C. 3 7401 et seq.);
the Clean Air Act, as amended (42 U.S.C. § 740 et seq.); the Federal Water Pollution Control
Act, as amended (33 U.S.C. § 1251 et seq.); the Occupational Safety and Health Act, as amended
(29 U.S.C. § 651 et seq.); the Safe Drinking Water Act, as amended (42 U.S.C. § 300f et seq.);
and their state and local counterparts or equivalents and any transfer of ownership notification or
approval statute.

“Environmental Liabilities and Costs” means, with respect to any Person, all
liabilities, obligations, responsibilities, Remedial Actions, losses, damages, punitive damages,
consequential damages, treble damages, costs and expenses (including all fees, disbursements
and expenses of counsel, experts and consultants and costs of investigation and feasibility
studies), fines, penalties, sanctions and interest incurred as a result of any claim or demand by
any other Person, whether based in contract, tort, implied or express warranty, strict liability,
criminal or civil statute, including any thereof arising under any Environmental Law, Permit,
order or agreement with any Governmental Authority or other Person, which relate to any
environmental, health or safety condition or a Release or threatened Release, and result from the
past, present or future operations of, or ownership of property by, such Person or any of its
Subsidiaries.

“Environmental Lien” means any Lien in favor of any Governmental Authority
for Environmental Liabilities and Costs.

“Equity Interests” means, with respect to any Person, any and all shares,
securities, interests, participations or other equivalents, including membership interests (however
designated, whether or not voting) of equity of such Person, including, if such Person is a
partnership (whether general or limited), limited liability company membership interests or any
other interest or participation that confers on a Person the right to receive a share of the profits
and losses of, or distributions of assets of, such entity, but in no event will Equity Interest include
any debt securities convertible or exchangeable into equity unless and until actually converted or
exchanged.

“ERISA” means the Employee Retirement Income Security Act of 1974, as
amended from time to time.

“ERISA Affiliate” means any corporation or trade or business that is a member of
any group of organizations (i) described in Section 414(b) or (c) of the Code of which any
Borrower is a member and (ii) solely for purposes of potential liability under Section 302(c)(11)
of ERISA and Section 412(c)(11) of the Code and the Lien created under Section 302(f) of
ERISA and Section 412(n) of the Code, described in Section 414(m) or (0) of the Code of which
any Borrower is a member.

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“Escrow Account” means that certain account number named
” of the Borrowers maintained with

“Escrow Account Control Agreement” means that certain control agreement with
respect to the Escrow Account, the Interest Escrow Subaccount and the Lender Expenses Escrow
Subaccount, in form and substance reasonably satisfactory to the Administrative Agent, executed
and delivered by the Borrowers, the Administrative Agent and

“Fyent of Default” has the meaning set forth in Section 8 hereof.

“Event of Loss” means, with respect to any property, (i) the actual or constructive
total loss of such property or the use thereof, resulting from destruction, damage beyond repair,
or the rendition of such property permanently unfit for normal use from any casualty or similar
occurrence whatsoever, (ii) the destruction or damage of a portion of such property from any
casualty or similar occurrence whatsoever under circumstances in which such damage cannot
reasonably be expected to be repaired, or such property cannot reasonably be expected to be
restored to its condition immediately prior to such destruction or damage, within 90 days after
the occurrence of such destruction or damage, (iii) the condemnation, confiscation or seizure of,
or requisition of title to or use of, any property, or (iv) in the case of any property located upon a
leasehold, the termination or expiration of such leasehold.

“Exchange Act” means the United States Securities and Exchange Act of 1934, as
amended from time to time.

“Excluded Taxes” means, with respect to the Administrative Agent, a Lender, a
Participant and its Tax Related Persons, only the following Taxes: (a) income, franchise Taxes
(imposed in lieu of net income Taxes) or similar Taxes imposed on (or measured by) the net
income of such Person by the jurisdiction under the laws of which such Person is organized, in
which its principal or applicable lending office is located or in which it is otherwise doing
business (other than a jurisdiction in which such Person is treated as doing business as a result of
its execution, delivery of any Loan Document or its exercise of its rights or performance of its
obligations thereunder or otherwise as a result of its participation (or the participation of an
entity in which it owns a beneficial interest) in the transactions contemplated by this Loan
Agreement); (b) withholding Taxes imposed by the United States of America on payments to
such Person, other than as a result of a change in applicable law occurring after (i) the date that
such Person became a party to this Agreement, or (ii) with respect to an assignment,
participation, acquisition, designation of a new applicable lending office or the appointment of a
successor Administrative Agent, the effective date of such assignment, participation, acquisition,
designation or appointment, except, in each case, to the extent and at the rate that such Person’s
predecessor was entitled to such amounts (or in the case of a designation of a new applicable
lending office, to the extent such Person was entitled to such amounts with respect to its prior
applicable lending office); and (c) Taxes that would not have been imposed but for and solely as
a result of the failure of such Person to comply with its obligations under Section 3.06(e).

“Extraordinary Receipts” means any cash received by any Borrower outside of
the ordinary course of business, including, without limitation, (i) pension plan reversions,
(ii) proceeds of insurance (including business interruption insurance), (iii) judgments, proceeds

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of settlements or other consideration of any kind in connection with any cause of action,
(iv) condemnation awards (and payments in lieu thereof), (v) indemnity payments, (vi) any
purchase price adjustment received in connection with any purchase agreement and (vii) any
foreign, U.S., state or local tax refund.

“Facility” has the meaning set forth in the recitals hereto.

“Facility Collection Account” means that certain account number
named “ ” of the Borrowers maintained with

“Facility Collection Account Control Agreement” means that certain control
agreement with respect to the Facility Collection Account, in form and substance reasonably
satisfactory to the Administrative Agent, executed and delivered by the Borrowers, the
Administrative Agent and

“Facility Fee” has the meaning set forth in Section 3.07(a).

“Federal Funds Rate” means, for any day, the weighted average of the rates on
overnight federal funds transactions with members of the Federal Reserve System arranged by
federal funds brokers, as published on the next succeeding Business Day by the Federal Reserve
Bank of New York, or, if such rate is not so published for any day which is a Business Day, the
average of the quotations for the day of such transactions received by the Administrative Agent
from three primary dealers (other than an affiliate of the Administrative Agent).

“Federal Tax Refund Receivable” means any unpaid federal tax refund in respect
of prior year tax payments.

“FHA” means the Federal Housing Authority and any successor agency.

“FHLMC” means the Federal Home Loan Mortgage Corporation and any
successor agency.

“Filing Date” has the meaning set forth in the recitals hereto.

“Final Order” means the order of the Bankruptcy Court in substantially the form
of the Interim Order (with only such modifications thereto as are satisfactory in form and
substance to the Administrative Agent), as the same may be amended, modified or supplemented
from time to time with the express written joinder or consent of the Administrative Agent, the
Lenders and the Borrowers, approving the Loans made and to be made to the Borrowers in
accordance with this Loan Agreement and granting the Liens contemplated hereby.

“First Lien Collateral” means the Collateral on which the Administrative Agent,
for the benefit of the Secured Parties, is granted or is purported to be granted a first priority Lien
pursuant to the Loan Documents, including the Collateral set forth on Schedule D.

“FNMA” means the Federal National Mortgage Association and any successor
agency.

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“Funding Date” means the date on which a Loan is made hereunder.

“GAAP” means generally accepted accounting principles as in effect from time to
time in the United States of America.

“Governmental Authority” means any nation or government, any state or other
political subdivision, agency or instrumentality thereof, any entity exercising executive,
legislative, judicial, regulatory, taxing or administrative functions of or pertaining to government
and any court or arbitrator having jurisdiction over any Borrower or any of its Subsidiaries or
properties.

“Guarantee” means, as to any Person, any obligation of such Person directly or
indirectly guaranteeing any Indebtedness of any other Person or in any manner providing for the
payment of any Indebtedness of any other Person or otherwise protecting the holder of such
Indebtedness against loss (whether by virtue of partnership arrangements, by agreement to keep-
well, to purchase assets, goods, securities or services, or to take-or-pay or otherwise), provided
that the term “Guarantee” shall not include (i) endorsements for collection or deposit in the
ordinary course of business, or (ii) obligations to make servicing advances in respect of any
mortgaged property. The amount of any Guarantee of a Person shall be deemed to be an amount
equal to the stated or determinable amount of the primary obligation in respect of which such
Guarantee is made or, if not stated or determinable, the maximum reasonably anticipated liability
in respect thereof as determined by such Person in good faith. The terms “Guarantee” and
“Guaranteed” used as verbs have correlative meanings.

“HUD” means the Department of Housing and Urban Development and any
successor thereto.

“Tlinois Property” means the Property of the applicable Borrower or Subsidiary
thereof located in Mt. Prospect, Illinois.

“Indebtedness” means, for any Person: (a) obligations created, issued or incurred
by such Person for borrowed money (whether by loan, the issuance and sale of debt securities or
the sale of Property to another Person subject to an understanding or agreement, contingent or
otherwise, to repurchase such Property from such Person); (b) obligations of such Person to pay
the deferred purchase or acquisition price of Property or services, other than trade accounts
payable (other than for borrowed money) arising, and accrued expenses incurred, in the ordinary
course of business so long as such trade accounts payable are payable within 90 days of the date
the respective goods are delivered or the respective services are rendered; (c) indebtedness of
others secured by a Lien on the Property of such Person, whether or not the respective
indebtedness so secured has been assumed by such Person; (d) obligations (contingent or
otherwise) of such Person in respect of letters of credit or similar instruments issued or accepted
by banks and other financial institutions for the account of such Person; (e) Capital Lease
Obligations of such Person; (f) obligations of such Person under repurchase agreements or like
arrangements; (g) indebtedness of others Guaranteed by such Person; (h) all obligations of such
Person incurred in connection with the acquisition or carrying of fixed assets by such Person; (i)
indebtedness of general partnerships of which such Person is a general partner; and (j) any other
indebtedness of such Person evidenced by a note, bond, debenture or similar instrument.

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“Indemnified Liabilities” has the meaning set forth in Section 11.04.

“Indemnified Party” has the meaning set forth in Section 11.04.

“Indemnified Taxes” means all Taxes other than Excluded Taxes.

“Insolvency Proceeding” means any proceeding commenced by or against any
Person under any provision of the Bankruptcy Code or under any other state or federal
bankruptcy or insolvency law, assignments for the benefit of creditors, formal or informal
moratoria, compositions, extensions generally with creditors, or proceedings seeking
reorganization, arrangement, or other similar relief.

“Insurance Proceeds” means with respect to each mortgage loan, proceeds of
insurance policies insuring the mortgage loan or the related mortgaged property.

“Intellectual Property” means, with respect to any Person, any copyrights, patents,
trademarks or other intellectual property and all registrations, licenses agreements and other
rights relating thereto.

“Interest Escrow Subaccount” means that certain subaccount of the Escrow
Account named “ ”

“Interest Period” means, with respect to any Loan, (i) initially, the period
commencing on the Funding Date with respect to such Loan and ending on the calendar day
prior to the next succeeding Monthly Payment Date, and (ii) thereafter, each period commencing
on the Monthly Payment Date of a month and ending on the calendar day prior to the Monthly
Payment Date of the next succeeding month. Notwithstanding the foregoing, no Interest Period
may end after the Maturity Date.

“Interim Amount” has the meaning set forth in Section 5.01(n).

“Interim Funder Category” means the category of the same name on the MERS
System that reflects the custodial party that is in possession of the mortgage loans pledged by
Borrowers to mortgage warehouse lenders.

“Interim Interest Escrow Deposit” has the meaning set forth in Section 5.01(t).

“Interim Order” means the order of the Bankruptcy Court, in the form of
Exhibit A, as the same may be amended, modified or supplemented from time to time with the
express written joinder or consent of the Administrative Agent, the Lenders and the Borrowers,
approving the Loans made and to be made to the Borrowers in accordance with this Loan
Agreement and granting the Liens contemplated hereby.

“Tender” has the meaning set forth in the preamble hereto.

“Tender Expenses” means all (a) costs or expenses (including taxes, and
insurance premiums) required to be paid by any Borrower under any of the Loan Documents that
are paid, advanced, or incurred by the Administrative Agent, any Lender or any Lender-Related

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Party, (b) reasonable fees or charges paid or incurred by any Lender-Related Party in connection
with the Administrative Agent’s or any Lender’s transactions with the Borrowers under the Loan
Documents, including, fees or charges for photocopying, notarization, couriers and messengers,
telecommunication, public record searches (including tax lien, litigation, and Uniform
Commercial Code searches and including searches with the patent and trademark office, the
copyright office, or the department of motor vehicles), filing, recording, publication, appraisal
(including periodic collateral appraisals or business valuations to the extent of the fees and
charges (and up to the amount of any limitation) contained in this Loan Agreement), real estate
surveys, real estate title policies and endorsements, and environmental audits, (c) reasonable out-
of-pocket costs and expenses incurred by the Administrative Agent or any Lender in the
disbursement of funds to the Borrowers (by wire transfer or otherwise), (d) out-of-pocket charges
paid or incurred by any Lender-Related Party resulting from the dishonor of checks payable by
or to any Borrower, (e) reasonable out-of-pocket costs and expenses paid or incurred by any
Lender-Related Party to correct any default or enforce any provision of the Loan Documents, or
in monitoring, gaining possession of, maintaining, handling, preserving, storing, shipping,
selling, preparing for sale, or advertising to sell the Collateral, or any portion thereof, irrespective
of whether a sale is consummated, (f) reasonable audit fees and expenses of Lender-Related
Parties related to audit examinations of the Collateral, (g) costs and expenses of third party
claims or any other suit paid or incurred by any Lender-Related Party in enforcing or defending
the Loan Documents or in connection with the transactions contemplated by the Loan
Documents or the Administrative Agent or any Lender’s relationship with any Borrower or any
of its Affiliates, and (h) reasonable out-of-pocket costs and expenses (including attorneys fees
and expenses) incurred by the Lender-Related Parties in advising, structuring, drafting,
documenting, executing, reviewing, administering, syndicating, or amending the . Loan
Documents.

“Tender Expenses Escrow Subaccount” means that certain subaccount of the
Escrow Account named “ ”

“T ender-Related Party” means the Administrative Agent, the Lenders and each of
the Administrative Agent’s or any Lender’s, members, Affiliates, sponsors, managing directors,
directors, together with their respective officers, employees, agents, advisors, attorneys and other
representatives.

“LTBO Base Rate” means with respect to each day a Loan is outstanding (or if
such day is not a Business Day, the next succeeding Business Day), the rate per annum equal to
the rate published by Bloomberg or if such rate is not available, the rate appearing at Reuters
Screen LIBORO1 Page as one-month LIBOR on such date and, if such rate shall not be so
quoted, the rate per annum at which the Administrative Agent is offered Dollar deposits at or
about 11:00 AM, eastern time, on such date by prime banks in the interbank eurodollar market
where the eurodollar and foreign currency and exchange operations in respect of the
Administrative Agent’s Loans are then being conducted for delivery on such day for a period of
one month and in an amount comparable to the amount of the Loans to be outstanding on such
day.

“LIBO Rate” means with respect to each Interest Period pertaining to a Loan, a
rate per annum (reset on a monthly basis) determined by the Administrative Agent in its sole

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discretion in accordance with the following formula (rounded upwards to the nearest 1/100th of
one percent), which rate as determined by the Administrative Agent shall be conclusive absent
manifest error by the Administrative Agent:

_LIBO Base Rate
1.00 - LIBO Reserve Requirements

The LIBO Rate shall be calculated on each Funding Date and Monthly Payment
Date commencing with the first Funding Date.

“LIBRO Reserve Requirements” means for any Interest Period for any Loan, the
aggregate (without duplication) of the rates (expressed as a decimal fraction) of any reserve
requirements applicable to any Lender or any Lender-Related Party in effect on such day
(including, without limitation, basic, supplemental, marginal and emergency reserves under any
regulations of the Board of Governors of the Federal Reserve System or other Governmental
Authority having jurisdiction with respect thereto), dealing with reserve requirements prescribed
for eurocurrency funding (currently referred to as “Eurocurrency Liabilities” in Regulation D of
such Board) maintained by a member bank of such Governmental Authority as of the Closing
Date, the LIBO Reserve Requirements shall be deemed to be zero.

“Lien” means any mortgage, lien, pledge, charge, security interest or similar
encumbrance.

“Loan” has the meaning set forth in Section 2.01 hereto.

“Loan Agreement” has the meaning set forth in the preamble hereto.

“loan Account” means that certain account number of the Parent
maintained with

“Loan Documents” means, collectively, the Control Agreements, this Loan
Agreement, the Orders, any note or notes executed by the Borrowers in connection with this
Loan Agreement and payable to any Lender, and any other agreement entered into, now or in the
future, by any Borrower and the Administrative Agent or any Lender in connection with this
Loan Agreement.

“Majority Lenders” means Lenders whose Pro Rata Shares, taken in the
aggregate, represent at least 51% of the Total Commitment.

“Material Adverse Change” means an event, fact, circumstance, change in, or
effect on the business of any Borrower or any Subsidiary that individually or in the aggregate or
on a cumulative basis with any other events, facts, circumstances, changes in, or effects on, the
Borrowers, taken as a whole, or any Borrower or any Subsidiary could reasonably be expected to
have a Material Adverse Effect.

“Material Adverse Effect” means a material adverse effect which either occurs
after the date hereof or with respect to which any Lender obtains knowledge after the date hereof
on (a) the business, property, operations, condition (financial, legal or otherwise) or prospects of

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any Borrower or any of the their Subsidiaries, (b) the ability of any Borrower to perform any of
its respective obligations under any of the Loan Documents to which it is a party, (c) the validity
or enforceability of any of the Loan Documents, (d) the rights and remedies of the
Administrative Agent or any Lender under any of the Loan Documents or (e) the Collateral;
provided, however, that the commencement of the Chapter 11 Cases, events customarily
resulting from the filing of a case under Chapter 11 of the Bankruptcy Code and the Borrowers’
efforts to market and sell substantially all of their businesses and assets shall not constitute a
Material Adverse Effect.

“Material Contract” means all agreements and contracts evidencing the Residuals
and the mortgage loans.

“Maturity Date” means the date which is the earliest of (a) the effective date of a
plan of reorganization in the Chapter 11 Cases that has been confirmed by an order of the
Bankruptcy Court, (b) the first anniversary of the Closing Date, (c) the sale of all or substantially
all of the Borrowers’ assets, whether under Section 363 of the Bankruptcy Code, a confirmed
plan of reorganization or otherwise; (d) the conversion of any of the Chapter 11 Cases to a case
under Chapter 7 of the Bankruptcy Code; (e) the dismissal of any of the Chapter 11 Cases; (f)
September 7, 2007, if the Final Order has not been entered by the Bankruptcy Court on or prior
to such date, and (g) such earlier date on which either (A) all Loans shall become due and
payable, in whole, in accordance with the terms of this Loan Agreement and the other Loan
Documents or (B) all Loans and all other Obligations for the payment of money shall be paid in
full and the Commitments and this Loan Agreement are terminated.

“Maximum Credit” has the meaning specified in Section 2.01.

“MERS” means Mortgage Electronic Registration System, Inc.
“MERSCORP” means MERSCORP, Inc.

“MERS Member” means any entity that is a member of MERS, in good standing
and in compliance with all rules, regulations, procedures and requirements set forth by MERS,
including, but not limited to the payment of membership dues.

“MERS Mortgage” means any deed of trust or mortgage registered to any of the
Borrowers on the MERS System.

“MERS System” means the Mortgage Electronic Registration System.

“Monthly Payment Date” means the last Business Day of each month.

“Multiemployer Plan” means a multiemployer plan defined as such in Section
3(37) of ERISA to which contributions have been or are required to be made by any Borrower or
any ERISA Affiliate and that is covered by Title IV of ERISA.

“Negotiable Collateral” means letters of credit, letter of credit rights, instruments,
promissory notes, drafts, documents, and chattel paper (including electronic chattel paper and
tangible chattel paper), and any and all supporting obligations in respect thereof.

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“Net Cash Proceeds” means, with respect to any Disposition by any Person, the
amount of cash received (directly or indirectly) from time to time (whether as initial
consideration or through the payment of deferred consideration) by or on behalf of such Person
or any of its Subsidiaries, in connection therewith after deducting therefrom only (A) the
principal amount of any Indebtedness secured by any senior Permitted Lien on any asset (other
than Indebtedness assumed by the purchaser of such asset) and interest, fees and expenses in
respect thereof which is (x) required to be, and is, repaid in connection with such Disposition
(other than Indebtedness under this Loan Agreement) or (y) in escrow in connection with such
Person contesting such Indebtedness or the Lien securing such Indebtedness in connection with
such Disposition, (B) reasonable costs, fees and expenses related to such Disposition reasonably
incurred by such Person in connection therewith and paid in cash, and (C) transfer or other taxes
paid by such Person in connection therewith, to the extent approved (to the extent such approval
is required) by the Bankruptcy Court.

“Non-Stayed Order” means an order of the Bankruptcy Court that is in full force
and effect, as to which no stay has been entered and which has not been reversed, amended,
modified, reversed, vacated or overturned in any respect without the prior written consent of the
Administrative Agent, the Required Lenders and the Borrowers.

“Note” means each promissory note executed by the Borrowers in favor of a
Lender evidencing such Lender’s Loans.

“Obligations” means all Loans, advances, debts, principal, interest, contingent
reimbursement obligations with respect to any of the Loan Documents, premiums, liabilities
(including all amounts charged to the Loan Account pursuant hereto), obligations (including
indemnification obligations), fees (including the fees provided for in Section 3.07 hereof),
charges, costs, Lender Expenses, guaranties, covenants, and duties of any kind and description
owing by any Borrower or any of its Subsidiaries to the Administrative Agent, any Lender or any
Lender-Related Party pursuant to or evidenced by the Loan Documents, in each case irrespective
of whether for the payment of money, whether direct or indirect, absolute or contingent, due or
to become due, now existing or hereafter arising. Any reference in this Loan Agreement or in
the Loan Documents to the Obligations shall include all extensions, modifications, renewals or
alterations thereof.

“Orders” means the Interim Order and the Final Order.

“Other Taxes” means any and all present or future stamp, registration, transfer or
documentary Taxes or any excise or property Taxes, charges or similar levies arising from any
payment made hereunder or from the execution, delivery or enforcement of, or otherwise with
respect to or in connection with, the Loan Documents.

“Parent” has the meaning set forth in the recitals hereto.

“Participant” has the meaning set forth in Section 11.15(c).

“Payment Date” means the first Business Day of each week.

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“PBGC” means the Pension Benefit Guaranty Corporation or any entity
succeeding to any or all of its functions under ERISA.

“Permit” means any permit, approval, authorization, license, variance or
permission required from a Governmental Authority under an applicable Requirement of Law.

“Permitted Disposition” means (i) any Disposition on terms and conditions
reasonably satisfactory to the Administrative Agent (so long as such Disposition does not create
a Default or Event of Default)[; or (ii) any Disposition pursuant to the terms of any repurchase
agreement, mortgage loan purchase and sale agreement, master repurchase agreement or similar
agreement or arrangement for the sale of mortgage loans].

“Permitted Liens” has the meaning set forth in Section 7.12.

_ “Person” means any individual, corporation, company, voluntary association,
partnership, joint venture, limited liability company, trust, unincorporated association or
Governmental Authority.

“Plan” means an employee benefit or other plan established or maintained by any
Borrower or any ERISA Affiliate and that is covered by Title IV of ERISA, other than a
Multiemployer Plan.

“Pledged Collateral” means collectively, the Pledged Notes, the Pledged Stock,
the Pledged Partnership Interests, the Pledged LLC Interests, any other Investment Property of
any Borrower, all certificates or other instruments representing any of the foregoing, all Security
Entitlements of any Borrower in respect of any of the foregoing, all dividends, interest
distributions, cash, warrants, rights, instruments and other property or Proceeds from time to
time received, receivable or otherwise distributed in respect of or in exchange for any or all of
the foregoing. Pledged Collateral may be General Intangibles or Investment Property.

“Pledged LLC Interests” means all of any Borrower’s right, title and interest as a
member of any limited liability companies and all of such Borrower’s right, title and interest in,
to and under any limited liability company agreement (or analogous constituent document) to
which it is a party.

“Pledged Notes” means all right, title, title and interest of any Borrower, in the
Instruments evidencing all Indebtedness owed to such Borrower issued by the obligors named
therein, and all interest, cash, Instruments and other property or Proceeds from time to time
received, receivable or otherwise distributed in respect of or in exchange for any or all of such
Indebtedness.

“Pledged Partnership Interests” means all of any Borrower’s right, title and
interest as a limited and/or general partner in all partnerships and all of such Borrower’s right,
title and interest in, to and under any partnership agreements to which it is a party.

“Pledged Securities” means all securities owned each Borrower.

“Pledged Stock” means the Equity Interests owned by each Borrower.

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“Post-Default Rate” means, in respect of any principal of any Loan or any other
amount under this Loan Agreement or any other Loan Document, a rate per annum equal to (a)
2.00% per annum plus (b)(i) the interest rate otherwise applicable to such Loan or other amount,
or (ii) if no interest rate is otherwise applicable, the LIBO Rate plus the Applicable Margin.

“Pre-Petition Credit Facilities” means the B of A Credit Agreement. [others].

“Pre-Petition Payment” means a payment (by way of adequate protection or
otherwise) of principal or interest or otherwise on account of any pre-petition Indebtedness
(including with respect to any of the Pre-Petition Credit Facilities) or trade payables or other pre-
petition claims against any Borrower.

“Property” means any right or interest in or to property of any kind whatsoever,
whether real, personal or mixed and whether tangible or intangible.

“Property Loss Event” means any loss of or damage to any Collateral that results
in the receipt (or the entitlement to receive) of proceeds of insurance in excess of $50,000 or any
taking of any Collateral that results in the receipt (or the entitlement to receive) or a
compensation payment in respect thereof in excess $50,000.

“Pro Rata Share” means, with respect to any Lender, the percentage obtained by
dividing (i) such Lender’s Commitment by (ii) the Total Commitment, provided, that, if the
Total Commitment has been reduced to zero, the numerator shall be the aggregate unpaid
principal amount of such Lender’s Loans and the denominator shall be the aggregate unpaid
principal amount of all of the applicable Loans.

“Reference Rate” means the rate of interest specified in the Wall Street Journal as
the prime rate. The prime rate is determined from time to time by such bank as a means of
pricing some loans to its borrowers and neither is tied to any external rate of interest or index nor
necessarily reflects the lowest rate of interest actually charged by such bank to any particular
class or category of customers. Each change in the Reference Rate shall be effective from and
including the date such change is publicly announced as being effective.

“Register” has the meaning set forth in the Section 11.15(b)(ii).

“Registered Loan” means any loan recorded on the Register pursuant to Section

11.15(b)(ii).

“Reoulations T, U and X” means Regulations T, U and X of the Board of
Governors of the Federal Reserve System (or any successor), as the same may be modified and
supplemented and in effect from time to time.

“Release” means any release, spill, emission, leaking, pumping, injection, deposit,
disposal, discharge, dispersal, leaching or migration, in each case, of any Contaminant into the
indoor or outdoor environment or into or out of any property, including the movement of
Contaminants through or in the air, soil, surface water, ground water or property.

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“Remedial Action” means all actions required pursuant to Environmental Law to
(a) clean up, remove, treat or in any other way remediate any Contaminant in the indoor or
outdoor environment, (b) reasonably prevent the Release or reasonably minimize the further
Release so that a Contaminant does not migrate or endanger or threaten to endanger public health
or welfare or the indoor or outdoor environment or (c) perform pre-remedial studies and
investigations and post-remedial monitoring and care.

“Required Lenders” means (a) for so long as the Pro Rata Share of WLR
represents at least 51% of the Commitments, WLR, and (b) in all other cases, Lenders whose Pro
Rata Shares, taken in the aggregate, represent at least 51% of the Commitments.

“Requirement of Law” means as to any Person, (a) the certificate of incorporation
and by-laws or other organizational or governing documents of such Person, (b) all laws
(including consumer regulatory laws), treaties, rules or regulations, and (c) all determinations of
an arbitrator or a court or other Governmental Authority, in each case applicable to or binding
upon such Person or any of its property or to which such Person or any of its property is subject.

“Residuals” means any unencumbered securitization residual interests, including
as listed on Schedule F hereto and all rights and interests related thereto.

“Responsible Officer” means, as to any Person, the chief executive officer or,
with respect to financial matters, the chief financial officer, the chief restructuring officer of such
Person; provided, that in the event any such officer is unavailable at any time he or she is
required to take any action hereunder, Responsible Officer means any officer authorized to act
on such officer’s behalf as demonstrated by a certificate of corporate resolution.

“Restricted Payments” means with respect to any Person, collectively, all
dividends or other distributions of any nature (cash, securities, assets or otherwise), and all
payments, by virtue of redemption or otherwise, on any class of equity securities (including,
without limitation, warrants, options or rights therefor) issued by such Person, whether such
securities are now or may hereafter be authorized or outstanding and any distribution in respect
of any of the foregoing, whether directly or indirectly.

“Rule 15c3-1” means Rule 15c3-1, including the appendicies thereto,
promulgated by the SEC under the Exchange Act, as such rule may be amended from time to
time, or any rule or regulation of the SEC that replaces Rule 15c3-1.

“SEC” means the United States Securities and Exchange Commission, or any
other regulatory body that succeeds to the functions of the United States Securities and Exchange
Commission.

“Secured Parties” means the Administrative Agent and the Lenders.

“Senior Claims” means all valid, perfected, non-avoidable secured claims existing
on the Filing Date.

“Servicing Rights” means all rights of the Borrowers or any of their Subsidiaries
relating to the servicing of loans.

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“Specified Banking Subsidiary” means American Home Bank.

“Specified Captive Insurance Subsidiary” means [ ].

“Specified Real Property Subsidiary” means AHM SPV II LLC.

“State Tax Refund Receivables” means any unpaid state tax refunds in respect of
prior year tax payments.

“Subsidiary” means, with respect to any Person, (a) any corporation, partnership
or other entity of which at least a majority of the securities or other ownership interests having
by the terms thereof ordinary voting power to elect a majority of the board of directors or other
persons performing similar functions of such corporation, partnership or other entity (irrespective
of whether or not at the time securities or other ownership interests of any other class or classes
of such corporation, partnership or other entity shall have or might have voting power by reason
of the happening of any contingency) is at the time directly or indirectly owned or controlled by
such Person or one or more Subsidiaries of such Person or by such Person and one or more
Subsidiaries of such Person, or (b) if such Person is a trust, the depositor of such trust.

“Taxes” means all present or future taxes, levies, imposts, duties, deductions,
charges or withholdings imposed by any Governmental Authority, and shall include all interest,
penalties and additions to Tax related thereto.

“Tax Refund Receivables” means any Federal Tax Refund Receivable and any
State Tax Refund Receivables.

“Tax Related Person” means any Person (including, without limitation, a
beneficial owner of an interest in a pass-through entity) whose income is realized through or
determined by reference to the Administrative Agent, a Lender or Participant or any Tax Related
Person of any of the foregoing.

“Tax Return” means any report, filing, return, information return, document,
election, including amendments to any of the foregoing, filed or furnished or required to be filed
or furnished with respect to Taxes.

“Total Commitment” means, at any time, the sum of the Commitments.

“Uniform Commercial Code” means the Uniform Commercial Code as in effect
on the date hereof in the State of New York; provided that if by reason of mandatory provisions
of law, the perfection or the effect of perfection or non-perfection or the priority of the security
interest in any Collateral is governed by the Uniform Commercial Code as in effect in a
jurisdiction other than New York, “Uniform Commercial Code” means the Uniform Commercial
Code as in effect in such other jurisdiction for purposes of the provisions hereof relating to such
perfection or effect of perfection or non-perfection or priority.

‘“Unencumbered Whole Loan” means a mortgage loan owned by a Borrower,
including as set forth on Schedule E.

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“USA Patriot Act” means the Uniting and Strengthening America by Providing
Appropriate Tools Required to Intercept and Obstruct Terrorism (USA PATRIOT Act) Act of
2001 (Title III of Pub. L. 107-56 (signed into law October 26, 2001)).

“VA” means the Veterans Administration or any successor agency.

“WLR” means [WLR Recovery Fund II], L.P.].

1.02 Accounting Terms and Determinations. Except as otherwise expressly
provided herein, all accounting terms used herein shall be interpreted, and all financial
statements and certificates and reports as to financial matters required to be delivered to the
Lender hereunder shall be prepared, in accordance with GAAP.

1.03 Uniform Commercial Code. Any capitalized terms used in this
Agreement that are defined in the Uniform Commercial Code shall be construed and defined as
set forth in the Uniform Commercial Code unless otherwise defined herein.

1.04 Construction. Unless the context of this Agreement or any other Loan
Document clearly requires otherwise, references to the plural include the singular, references to
the singular include the plural, the term “including” is not limiting, and the term “or” has, except
where otherwise indicated, the inclusive meaning represented by the phrase “and/or.” The words
“hereof,” “herein,” “hereby,” “hereunder,” and similar terms in this Agreement or any other
Loan Document refer to this Agreement or such other Loan Document, as the case may be, as a
whole and not to any particular provision of this Agreement or such other Loan Document, as the
case may be. Section, subsection, clause, schedule, and exhibit references herein are to this
Agreement unless otherwise specified. Any reference in this Agreement or in the other Loan
Documents to any agreement, instrument, or document shall include all alterations, amendments,
changes, extensions, modifications, renewals, replacements, substitutions, joinders, and
supplements, thereto and thereof, as applicable (subject to any restrictions on such alterations,
amendments, changes, extensions, modifications, renewals, replacements, substitutions, joinders,
and supplements set forth herein). Any reference herein to any Person shall be construed to
include such Person’s successors and assigns. Any requirement of a writing contained herein or
in the other Loan Documents shall be satisfied by the transmission of a record and any record
transmitted shall constitute a representation and warranty as to the accuracy and completeness of
the information contained therein.

Section 2. Loans, Evidence of Debt and Prepayments.

2.01 Loans. Subject to fulfillment of the conditions precedent set forth in
Sections 5.01 and 5.02 hereof, and provided that no Default or Event of Default shall have
occurred and be continuing hereunder, each Lender hereby severally agrees, from time to time,
on the terms and conditions of this Loan Agreement and the other Loan Documents, to make
loans (individually, a “Loan”; collectively, the “Loans”) to the Borrowers in Dollars, on any
Business Day (but the Borrowers will endeavor to limit requests for Loans to not more
frequently than once weekly) from and including the Closing Date to but excluding the Maturity
Date in an aggregate principal amount at any one time outstanding not to exceed such Lender’s
Pro Rata Share of the Total Commitment as in effect from time to time. Subject to the terms and
conditions of this Loan Agreement, during such period the Borrowers may borrow, repay and

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reborrow Loans hereunder. In no event shall the Lenders be obligated to make a Loan when any
Default or Event of Default has occurred and is continuing, and in no event shall the aggregate
principal amount of all Loans outstanding at any time exceed $50,000,000, as reduced from time
to time in accordance with Section 2.06 (the amount maximum amount available to be borrowed
pursuant to this Section 2.01 shall be referred to herein as the “Maximum Credit”); provided that
any request for any Loans in excess of the aggregate principal amount of $40,000,000 shall only
be made in the sole discretion of the Lenders; provided, further, that at all times prior to the Final
Order, the Maximum Credit shall equal the Interim Amount.

2.02 Evidence of Debt.

(a) The Administrative Agent shall maintain an account or accounts
evidencing the indebtedness of the Borrowers to each Lender resulting from each Loan made by
such Lender, including the amounts of principal and interest payable and paid to the Lender from
time to time hereunder.

(b) In the absence of manifest error, the entries made in the accounts
maintained pursuant to paragraph (a) of this Section shall be prima facie evidence of the
existence and amounts of the obligations recorded therein; provided that the failure of the
Administrative Agent to maintain such accounts or any error therein shall not in any manner
affect the obligation of the Borrowers to repay the Loans in accordance with the terms of this
Loan Agreement.

(c) _ Any Lender may request that the Loans be evidenced by a Note or
Notes. In such event, the Borrowers shall prepare, execute and deliver to such Lender a Note or
Notes payable to the order of such Lender (or, if requested by such Lender, to such Lender and
its assigns) and in a form approved by such Lender. Thereafter, the Loans evidenced by such
Note and interest thereon shall at all times be represented by one or more Notes in such form
payable to the payee named therein or its registered assigns.

2.03 Procedure for Borrowing.

(a) Borrowing Procedure for Requesting a Loan. The Administrative
Borrower may request a borrowing, on any Business Day during the period from and including
the Closing Date to the Maturity Date to the extent set forth above for any Loan, by delivering to
the Administrative Agent, with a copy to the Lenders, an irrevocable Borrowing Notice,
appropriately completed and with all required supporting documentation, which Borrowing
Notice must be received no later than [12:00 noon] (eastern time) on the requested Funding Date.
Such Borrowing Notice shall be irrevocable and shall specify (i) the principal amount of the
proposed Loans, (ii) the use of the proceeds of such proposed Loans and (iii) the proposed
borrowing date, which must be a Business Day. The Administrative Agent and the Lenders may
act without liability upon the basis of written, telecopied or telephonic notice believed by the
Administrative Agent in good faith to be from the Administrative Borrower (or from any
Authorized Officer thereof designated in writing purportedly from the Administrative Borrower
to the Administrative Agent). The Administrative Agent and each Lender shall be entitled to
rely conclusively on any Authorized Officer’s authority to request Loans on behalf of the
Borrowers until the Administrative Agent receives written notice to the contrary. The

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Administrative Agent and the Lenders shall have no duty to verify the authenticity of the
signature appearing on any Borrowing Notice. Except as otherwise provided in this Section
2.03, Loans shall be made ratably in accordance with each Lender’s Pro Rata Share.

(b) Each Borrowing Notice pursuant to this Section 2.03 shall be
irrevocable and the Borrowers shall be bound to make a borrowing in accordance therewith.
Each Loan shall be made in a minimum amount of $1,000,000 and shall be in an integral
multiple of $100,000.

(c) Mechanics of Loans.

(i) Except as otherwise provided in this Section 2.03(c), all Loans under
this Agreement shall be made by the Lenders simultaneously and proportionately to their
Pro Rata Shares, it being understood that no Lender shall be responsible for any default
by any other Lender in that other Lender’s obligations to make a Loan requested
hereunder, nor shall the Commitment of any Lender be increased or decreased as a result
of the default by any other Lender in that other Lender’s obligation to make a Loan
requested hereunder, and each Lender shall be obligated to make the Loans required to be
made by it by the terms of this Loan Agreement regardless of the failure of any other
Lender to do so.

(ii) Notwithstanding any other provision of this Loan Agreement, and in
order to reduce the number of fund transfers among the parties hereto, the Borrowers, the
Administrative Agent and the Lenders agree that the Administrative Agent may (but shall
not be obligated to), and the Borrowers and the Lenders hereby irrevocably authorize the
Administrative Agent to, fund, on behalf of the Lenders, Loans pursuant to Section 2.01;
provided, however, that the Administrative Agent shall in no event fund such Loans if the
Administrative Agent shall have received written notice from the Required Lenders prior
to the funding of the proposed Loan that one or more of the conditions precedent
contained in Section 5.01 or Section 5.02, will not be satisfied on the day of the proposed
Loan. If the Administrative Borrower gives a Borrowing Notice requesting a Loan and
the Administrative Agent elects not to fund such Loan on behalf of the Lenders, then
promptly after receipt of the Borrowing Notice requesting such Loan, the Administrative
Agent shall notify each applicable Lender of the specifics of the requested Loan and that
it will not fund the requested Loan on behalf of the Lenders. If the Administrative Agent
notifies the Lenders that it will not fund a requested Loan on behalf of the Lenders, each
applicable Lender shall make its Pro Rata Share of the Loan available to the
Administrative Agent, in immediately available funds, no later than 2:00 p.m. (eastern
time) (provided that, except with respect to any Loan to be made on the Closing Date, the
Administrative Agent requests payment from such Lender not later than 5:00 p.m.
(eastern time) on the prior Business Day) on the date of the proposed Loan. The
Administrative Agent will make the proceeds of such Loans available to the Borrowers
on the day of the proposed Loan by causing an amount, in immediately available funds,
equal to the proceeds of all such Loans received by the Administrative Agent or the
amount funded by the Administrative Agent on behalf of the Lenders to be deposited in
the Loan Account.

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(ili) If the Administrative Agent has notified the Lenders that the
Administrative Agent, on behalf of the Lenders, will fund a particular Loan pursuant to
Section 2.03(c)(ii), the Administrative Agent may assume that such Lender has made
such amount available to the Administrative Agent on such day and the Administrative
Agent, in its sole discretion, may, but shall not be obligated to, cause a corresponding
amount to be made available to the Borrowers on such day. If the Administrative Agent
makes such corresponding amount available to the Borrowers and such corresponding
amount is not in fact made available to the Administrative Agent by such Lender, the
Administrative Agent shall be entitled to recover such corresponding amount on demand
from such Lender together with interest thereon, for each day from the date such payment
was due until the date such amount is paid to the Administrative Agent, at the Federal
Funds Rate for three Business Days and thereafter at the Reference Rate plus the
Applicable Margin. During the period in which such Lender has not paid such
corresponding amount to the Administrative Agent, notwithstanding anything to the
contrary contained in this Loan Agreement or any other Loan Document, the amount so
advanced by the Administrative Agent to the Borrowers shall, for all purposes hereof, be
a Loan made by the Administrative Agent for its own account Upon any such failure by a
Lender to pay the Administrative Agent, the Administrative Agent shall promptly
thereafter notify the Administrative Borrower of such failure and the Borrowers shall
immediately pay such corresponding amount to the Administrative Agent for its own
account.

(iv) Nothing in this Section 2.03(c) shall be deemed to relieve any Lender
from its obligations to fulfill its Commitment hereunder or to prejudice any rights that the
Administrative Agent or the Borrowers may have against any Lender as a result of any
default by such Lender hereunder.

(d) Upon the Borrowers’ request for a borrowing pursuant to Section
2.03(a) above and subject to Section 2.03(c) above, each Lender shall, assuming all conditions
precedent set forth in this Section 2.03 and in Sections 5.01 and 5.02 have been met, and
provided no Default shall have occurred and be continuing (in accordance with Section 2.01), not
later than 3:00 p.m. (eastern time) on the requested Funding Date, make a Loan (determined by
the Administrative Agent) in an amount equal to such Lender’s Pro Rata Share and which would
not cause the aggregate amount of Loans then outstanding to exceed the Maximum Credit.
Subject to the foregoing, such borrowing will be made available to the Borrowers in accordance
with Section 2.03(c) via wire transfer to the applicable Loan Account in funds immediately
available to the Borrowers.

2.04 Limitation on Types _of Loans; Illegality. Anything herein to the
contrary notwithstanding, if, on or prior to the determination of any LIBO Base Rate:

(a) any Lender determines, which determination shall be conclusive, that
quotations of interest rates for the relevant deposits referred to in the definition of “LIBO Base
Rate” in Section 1.01 hereof are not being provided in the relevant amounts or for the relevant
maturities for purposes of determining rates of interest for Loans as provided herein; or

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(b) any Lender determines, which determination shall be conclusive, that
the Applicable Margin plus the relevant rate of interest referred to in the definition of “LIBO
Base Rate” in Section 1.0.1 hereof upon the basis of which the rate of interest for Loans is to be
determined is not likely adequately to cover the cost to such Lender of making or maintaining
Loans; or

(c) it becomes unlawful for such Lender to make or maintain Loans
hereunder using a LIBO Rate;

then such Lender shall give the Administrative Agent and the Administrative Borrower prompt
notice thereof and, so long as such condition remains in effect, the Lenders shall not make
additional Loans, and the Borrowers shall, at their option, either prepay such Loans or pay
interest on such Loans at a rate per annum as determined by such Lender taking into account the
increased cost to such Lender of making and maintaining the Loans.

2.05 Repayment of Loans: Interest.

(a) Each Borrower hereby unconditionally promises to pay in full on the
Maturity Date the then aggregate outstanding principal amount of the Loans and all other
Obligations due under this Loan Agreement and the other Loan Documents.

(b) The Borrowers shall pay to the Administrative Agent for the account
of the Lenders interest on the unpaid principal amount of each Loan for the period from and
including the date of such Loan to but excluding the date such Loan shall be paid in full, at a rate
per annum equal to the LIBO Rate plus the Applicable Margin. Notwithstanding the foregoing,
upon the occurrence and during the continuance of any Event of Default, the Borrowers shall pay
to the Administrative Agent for the account of the Lenders interest at the applicable Post-Default
Rate on any principal of any Loan and on any other amount payable by the Borrowers hereunder,
for the period from and including the date of occurrence of such Event of Default to but
excluding the date such Event of Default is waived or such amount is paid in full.

(c) Accrued interest on each Loan as calculated in Section 2.05(b) above
shall be payable in arrears on each Monthly Payment Date and on the Maturity Date, except that
interest payable at the Post-Default Rate shall accrue daily and shall be payable promptly upon
receipt of invoice; provided, that, so long as the interest payable does not exceed the amount on
deposit in the Interest Escrow Subaccount, the Administrative Agent shall pay on the Borrowers’
behalf all then-outstanding interest with amounts on deposit in the Interest Escrow Subaccount.
Promptly after the determination of any interest rate provided for herein or any change therein,
the Lender shall give written notice thereof to the Administrative Borrower.

(d) The amount held in the Interest Escrow Subaccount will be reduced
and released to the Borrowers on a pro rata basis for any repayment or prepayment of the Loans
under Sections 2.06 or 2.07 that is accompanied by a corresponding reduction in the amount of
the Commitment.

2.06 Mandatory Prepayment.

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(a) Deficiency. If at any time the aggregate outstanding principal amount
of Loans exceeds the Maximum Credit (a “Deficiency’”), as determined by the Administrative
Agent and notified to the Administrative Borrower on any Business Day, the Borrowers shall
immediately upon receipt of such written notice by the Administrative Borrower, prepay the
Loans in part or in whole, such that after giving effect to such prepayment a Deficiency no
longer exists. To the extent that there are Deficiencies with respect to more than one Loan, funds
on deposit in the Control Accounts shall be applied pro rata to the Loans.

(b) Asset_Dispositions. Upon receipt by any Borrower of any Net Cash
Proceeds from any Asset Sale, Property Loss Event, litigation or other legal recovery or from the
issuance or incurrence of any Indebtedness that is not permitted to be incurred hereunder, the
Borrower shall immediately prepay the Loans in an amount equal to 100% of such Net Cash
Proceeds. Subject to Section 3.03(b), any prepayments made by the Borrower pursuant to this
paragraph (b) shall be applied to repay the outstanding principal balance of the Loans until such
Loans shall have been paid in full. All repayments of Loans required to be made pursuant to this
paragraph (b) shall, at the election of the Lenders, result in a permanent reduction of the
Commitments.

(c) Certain Proceeds of an Event of Loss. Upon receipt by any Borrower of
any Net Cash Proceeds from any Event of Loss in excess of $50,000, in the aggregate during any
fiscal year, the Borrower will make a prepayment of the Loans in an amount equal to 100% of
the Net Cash Proceeds then received from such Event of Loss to the extent in excess of $50,000,
in accordance with Section 3.03.

(d) Extraordinary Receipts. Not later than the tenth Business Day following
the date of the receipt by the Borrowers or any of their Subsidiaries of Extraordinary Receipts,
the Borrowers will make a prepayment of the Loans in an amount equal to 100% of such
Extraordinary Receipts (net of any reasonably expenses incurred in collecting such Extraordinary
Receipts) in accordance with Section 3.03.

2.07 Optional Prepayments

(a) The Loans are prepayable without premium or penalty, in whole or in
part on each Payment Date. The Loans are prepayable at any other time, in whole or in part, in
accordance herewith and subject to clause (b) below. Amounts repaid may be reborrowed in
accordance with the terms of this Loan Agreement to the extent permitted under Section 2.01. If
the Borrowers intend to prepay a Loan in whole or in part from any source other than as required
under Section 2.06, the Administrative Borrower shall give two (2) Business Days’ prior written
notice thereof to the Lenders. If such notice is given, the amount specified in such notice shall
be due and payable on the date specified therein, together with accrued interest to such date on
the amount prepaid. Partial prepayments shall be in a minimum principal amount of $1,000,000
and shall be in an integral multiple of $100,000.

(b) If the Borrowers make a prepayment of the Loans on any day which is
not a Payment Date, the Borrowers shall indemnify the Administrative Agent and the Lenders
and hold the Administrative Agent and the Lenders harmless from any actual loss or expense
which the Administrative Agent or such Lender may sustain or incur arising from (a) the re-

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employment of funds obtained by the Administrative Agent or any Lender to maintain the Loans
hereunder or from (b) fees payable to terminate the deposits from which such funds were
obtained, in either case, which actual loss or expense shall be equal to an amount equal to the
excess, as reasonably determined by the Administrative Agent or such Lender, of (i) its cost of
obtaining funds for such Loans for the period from the date of such payment through the
following Payment Date over (ii) the amount of interest likely to be realized by such Lender in
redeploying the funds not utilized by reason of such payment for such period. This Section 2.07
shall survive termination of this Loan Agreement and payment of the Loans.

(c) This Loan Agreement may be terminated by the Borrowers at any time
upon payment in full in cash of all Obligations, including all payments required to be made
under Sections 2.05, 3.06 and 3.07 of this Loan Agreement.

2.08 Requirements of Law.

(a) If any Requirement of Law (other than with respect to any amendment
made after the Closing Date to the Administrative Agent’s or any Lender’s certificate of
incorporation and by-laws or other organizational or governing documents) or any change in the
interpretation or application thereof or compliance by the Administrative Agent or any Lender
with any request or directive (whether or not having the force of law) from any central bank or
other Governmental Authority made subsequent to the date hereof:

(i) shall subject any Lender-Related Party to any tax of any kind
whatsoever with respect to this Loan Agreement or any Loan made by it other than
Excluded Taxes or change the basis of taxation of payments to any Lender-Related Party
in respect thereof;

(ii) shall impose, modify or hold applicable any reserve, special deposit,
compulsory advance or similar requirement against assets held by deposits or other
liabilities in or for the account of Loans or other extensions of credit by, or any other
acquisition of-funds by any office of any Lender-Related Party which is not otherwise
included in the determination of the LIBO Base Rate hereunder; or

(iii) shall impose on any Lender-Related Party any other condition;

and the result of any of the foregoing is to increase the cost to the Administrative Agent or any
Lender, by an amount which the Administrative Agent or such Lender deems to be material, of
making, continuing or maintaining any Loan or to reduce any amount receivable hereunder in
respect thereof, then, in any such case, the Borrowers shall promptly pay the Administrative
Agent or such Lender such additional amount or amounts as will compensate the Administrative
Agent or such Lender, on an after-Tax basis, for such increased cost or reduced amount
receivable thereafter incurred.

(b) If the Administrative Agent or any Lender shall have determined that
the adoption of or any change in any Requirement of Law (other than with respect to any
amendment made after the Closing Date to the Administrative Agent’s or any Lender’s
certificate of incorporation and by-laws or other organizational or governing documents)
regarding capital adequacy or in the interpretation or application thereof or compliance by any

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Lender-Related Party or any corporation controlling any Lender-Related Party with any request
or directive regarding capital adequacy (whether or not having the force of law) from any
Governmental Authority made subsequent to the date hereof shall have the effect of reducing the
rate of return on such corporation’s or any Lender- Related Party’s capital as a consequence of
any obligations hereunder to a level below that which such corporation or any Lender-Related
Party (taking into consideration such corporation’s or any Lender-Related Party’s policies with
respect to capital adequacy) by an amount reasonably deemed by the Administrative Agent or
such Lender to be material, then from time to time, the Borrowers shall promptly pay to the
Administrative Agent or such Lender such additional amount or amounts as will thereafter
compensate the Administrative Agent or such Lender for such reduction.

(c) If the Administrative Agent or any Lender becomes entitled to claim
any additional amounts pursuant to this subsection, it shall promptly notify the Administrative
Borrower of the event by reason of which it has become so entitled. A certificate as to any
additional amounts payable pursuant to this subsection submitted by the Administrative Agent or
such Lender to the Administrative Borrower shall be conclusive in the absence of manifest error.

2.09 Purpose of Loans. Each Loan shall be used in accordance with
Section 7.11.

Section 3. Payments: Computations; Taxes; Fees.

3.01 Payments. Except to the extent otherwise provided herein, all
payments of principal, interest and other amounts to be made by the Borrowers under this Loan
Agreement, shall be made in Dollars, in immediately available funds, without deduction, set-off
or counterclaim, to the Facility Collection Account not later than 12:00 noon, eastern time, on
the date on which such payment shall become due (each such payment made after such time on
such due date to be deemed to have been made on the next succeeding Business Day). Each
Borrower acknowledges that it has no rights of any kind with respect to the foregoing account
(including, without limitation, any right of withdrawal therefrom); provided, that, absent a
Default or Event of Default, the Administrative Agent shall release to the Borrowers all funds
not otherwise required to be applied to the Obligations.

3.02 Sharing of Payments Etc. Except as provided in Section 2.08 hereof,
if any Lender shall obtain any payment (whether voluntary, involuntary, through the exercise of
any right of set-off, or otherwise) on account of any Obligation in excess of its Pro Rata Share on
account of similar obligations obtained by all the Lenders, such Lender shall forthwith purchase
from the other Lenders such participations in such similar obligations held by them as shall be
necessary to cause such purchasing Lender to share the excess payment ratably with each of
them; provided, however, that if all or any portion of such excess payment is thereafter recovered
from such purchasing Lender, such purchase from each Lender shall be rescinded and such
Lender shall repay to the purchasing Lender the purchase price to the extent of such recovery
together with an amount equal to such Lender’s ratable share (according to the proportion of (i)
the amount of such Lender’s required repayment to (ii) the total amount so recovered from the
purchasing Lender of any interest or other amount paid by the purchasing Lender in respect of
the total amount so recovered). The Borrowers agree that any Lender so purchasing a
participation from another Lender pursuant to this Section 3.02 may, to the fullest extent

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